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US DISTRICT COURT

WESTERN DISTRICT OF ARKANSAS
FILED

IN THE UNITED STATES DISTRICT COURT
JUN 04 2024

WESTERN DISTRICT OF ARKANSAS

HOT SPRINGS DIVISION Ronald E. Dowling

By,
UNITED STATES OF AMERICA ) ; Deputy Clerk
) No. 6:24-CR- b (09 K
)
Vv. y
)
) 21 U.S.C. § 841(a)(1)
DANIEL BARNARD WHITLOCK ) 21 US.C. § 841(b)(1)(C)
INDICTMENT
The Grand Jury Charges:
COUNT ONE

On or about February 27, 2024, in the Western District of Arkansas, Hot Springs Division,
the Defendant, DANIEL BARNARD WHITLOCK, knowingly and intentionally distributed a
controlled substance, namely a mixture or substance containing a detectable amount of
methamphetamine, a Schedule I] controlled substance.

All in violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(C).

A True Bill. DAVID CLAY FOWLKES
UNITED SYATES ATTORNEY

/s/ Grand Jury Foreperson By:
Grand Jury Foreperson Trent Daniels
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